      Case: 1:24-cv-11703 Document #: 10 Filed: 01/29/25 Page 1 of 2 PageID #:28




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                    CASE NO.: 1:24-cv-11703

 MARCO VERCH,

        Plaintiff,

 v.

 GOLUB & COMPANY LLC f/d/b/a
 THE 300,

        Defendant.


                                        STATUS REPORT

       Pursuant to the Court’s Order issued January 7, 2025 [D.E. 8], the Undersigned submits

this Status Report.

       Plaintiff filed its initial Complaint on November 14, 2025, naming 300 South Wacker

Corporation d/b/a The 300 as the defendant [D.E. 1]. After attempting service and discovering

additional facts, Plaintiff filed its First Amended Complaint, naming Golub & Company LLC

f/d/b/a The 300 (“Defendant”) as the proper defendant (and removing 300 South Wacker

Corporation from the lawsuit). The Undersigned has since communicated with Defendant’s

counsel, who accepted service on behalf of Defendant. On January 9, 2025, the Undersigned filed

Defendant’s Waiver of Service. See D.E. 9. Defendant’s response to the First Amended Complaint

is due on or before March 10, 2025. See D.E. 9.




                                          COPYCAT LEGAL PLLC
                      3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                        TELEPHONE (877) 437-6228
     Case: 1:24-cv-11703 Document #: 10 Filed: 01/29/25 Page 2 of 2 PageID #:29




 Dated: January 29, 2025.                                 COPYCAT LEGAL PLLC
                                                          3111 N. University Drive
                                                          Suite 301
                                                          Coral Springs, FL 33065
                                                          Telephone: (877) 437-6228
                                                          dan@copycatlegal.com


                                                          By: /s/ Daniel DeSouza____
                                                                  Daniel DeSouza, Esq.


                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2025, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, which will electronically serve all counsel of record.

                                                /s/ Daniel DeSouza___
                                                Daniel DeSouza, Esq.




                                                   2
                                          COPYCAT LEGAL PLLC
                      3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                        TELEPHONE (877) 437-6228
